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                                          10                                 UNITED STATES DISTRICT COURT
For the Northern District of California




                                          11                              NORTHERN DISTRICT OF CALIFORNIA
    United States District Court




                                          12                                          SAN JOSE DIVISION
                                          13
                                               APPLE INC., a California Corporation, )                 Case No. 5:11-cv-01846-LHK (PSG)
                                          14                                         )
                                                                       Plaintiff,    )                 ORDER SETTING REASONABLE
                                          15                                         )
                                                      v.                             )                 ATTORNEY’S FEES AND COSTS
                                          16                                         )
                                               SAMSUNG ELECTRONICS CO., LTD., a      )                 (Re: Docket Nos. 2958, 2959, 2964, 2998,
                                          17   Korean corporation; SAMSUNG           )                 3014)
                                               ELECTRONICS AMERICA, INC., a New York )
                                          18   corporation; and SAMSUNG              )
                                               TELECOMMUNICATIONS AMERICA, LLC, )
                                          19                                         )
                                               a Delaware limited liability company, )
                                                                                     )
                                          20                           Defendants.   )
                                                                                     )
                                          21

                                          22          With the present quiet on the docket, it is easy to forget the long tumult of this case that

                                          23   once reigned. The ceremonial courtroom has cleared. The fire drills of motions on shortened time
                                          24   have ceased. All that remains for now, at least for the undersigned, is the relatively mundane issue
                                          25
                                               of what makes for reasonable fees.
                                          26
                                                      The fees at issue arise from this court’s order awarding sanctions to Apple and Nokia. The
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                                               sanctions followed the court’s finding that Samsung and Quinn Emanuel were responsible for the
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                                               Case No. 5:11-cv-01846-LHK (PSG)
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                                               unauthorized distribution of Apple and Nokia confidential information. Samsung and QE object to
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                                           2   certain of the fees Apple and Nokia now claim, which means the court must wade into the billing

                                           3   entries and make various calls. So, here goes. 1

                                           4                                            I. BACKGROUND 2
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                                                      On June 4, 2013, Nokia and Samsung met for negotiations over a patent license deal. At
                                           6
                                               that meeting, Dr. Seungho Ahn of Samsung told Paul Melin of Nokia that he knew the terms of
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                                               Nokia’s license agreement with Apple; he then recited the terms and indicated that his lawyers had
                                           8
                                               told him what they were. As Dr. Ahn put it, “all information leaks.” On July 1, 2013, Nokia filed
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                                          10   a motion for a protective order in the 12-0630 case to prevent further dissemination of its
For the Northern District of California




                                          11   confidential information. Nokia later withdrew that motion after entering into a stipulated
    United States District Court




                                          12   agreement with Samsung, which was supposed to address the problem.
                                          13
                                                      On August 1, 2013, QE finally notified Apple that there had been a breach of the protective
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                                               order, resulting in the dissemination of information designated as “attorneys’ eyes only” within
                                          15
                                               Samsung. In response, Apple filed a motion for sanctions in this case, as well as a motion for
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                                          17   discovery to figure out how far and wide the information had spread. Because progress had been

                                          18   essentially non-existent on the stipulated remedial agreement, the court granted Apple’s motion for

                                          19   discovery, which turned out to be extensive. After reviewing the materials unearthed by discovery,
                                          20   the court granted Apple’s motion for sanctions against Samsung and its counsel on two grounds:
                                          21
                                               (1) failure to institute sufficient safeguards for third-party confidential information and (2) failure
                                          22
                                               to comply with the notice and cooperation requirements set forth in Section 18(a) of the protective
                                          23
                                               order entered in this case. The court ordered QE to reimburse Apple and Nokia any and all costs
                                          24

                                          25
                                               1
                                          26    For ease of reference, the court will refer to QE alone while intending to encompass both QE and
                                               Samsung.
                                          27   2
                                                For direct citations to the record or a more fulsome recitation of the facts, see Docket Nos. 2689
                                          28   and 2935.

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                                               and fees incurred in litigating this motion and the discovery associated with it. QE now challenges
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                                           2   the reasonableness of the fees requested.

                                           3                                          II. LEGAL STANDARDS

                                           4             The touchstone of the attorney’s fee award is its reasonableness. As such, to determine the
                                           5   award, the court begins with the lodestar: reasonable rates multiplied by reasonable hours
                                           6
                                               expended. 3 The resulting figure is presumptively reasonable. 4 Attorney’s fees awards may only
                                           7
                                               include hours “reasonably expended” on the litigation. 5 Hours that are “excessive, redundant, or
                                           8
                                               otherwise unnecessary” must be excluded. 6 The court “must base its determination whether to
                                           9

                                          10   award fees for counsel’s work on its judgment as to whether the work product . . . was both useful
For the Northern District of California




                                          11   and of a type ordinarily necessary to advance the . . . litigation.” 7
    United States District Court




                                          12             Although parties seeking attorney’s fees are required only to provide affidavits “sufficient
                                          13
                                               to enable the court to consider all the factors necessary to determine a reasonable attorney’s fee
                                          14
                                               award,” parties are subject to a reduction in the hours awarded when they fail to provide adequate
                                          15
                                               documentation, notably contemporaneous time records. 8 The court also has the “authority to
                                          16

                                          17   reduce hours that are billed in block format.” 9 Block-billing is “the time-keeping method by which

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                                          20
                                               3
                                          21    See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983); Kraszewski v. State Farm General Ins. Co.,
                                               Case No. 3:79-cv-1261-TEH, 1984 WL 1027, at *5-6 (N.D. Cal. June 11, 1984).
                                          22   4
                                                   See Hensley, 461 U.S. at 434.
                                          23   5
                                                   See id. at 433.
                                          24   6
                                                   Id.
                                          25   7
                                                   Armstrong v. Davis, 318 F.3d 965, 971 (9th Cir. 2003).
                                          26   8
                                                See Ackerman v. W. Elec. Co., Inc., 643 F. Supp. 836, 863 (N.D. Cal. 1986) (citing Williams v.
                                          27   Alioto, 625 F.2d 845, 849 (9th Cir. 1980)).
                                               9
                                          28       See Welch v. Metropolitan Life Ins. Co., 480 F.3d 942, 948 (9th Cir. 2007).

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                                               each lawyer and legal assistant enters the total daily time spent working on a case, rather than
                                           1

                                           2   itemizing the time expended on specific tasks.” 10

                                           3             Finally, the Ninth Circuit recognizes that because “awarding attorney’s fees to prevailing

                                           4   parties . . . is a tedious business,” the trial court “should normally grant the award in full” if the
                                           5   party opposing the fee request “cannot come up with specific reasons for reducing the fee
                                           6
                                               request.” 11 At the same time, nothing in this standard compels a court to overlook ambiguities in a
                                           7
                                               requesting party’s supporting materials that it was in a position to argue. 12
                                           8
                                                                                           III. DISCUSSION
                                           9

                                          10             QE raises three broad challenges to Apple’s and Nokia’s request for costs and attorney’s
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                                          11   fees, which this order will address in order of escalating merit.
    United States District Court




                                          12         A. It Is Not Unjust To Award The Requested Expenses
                                          13
                                                         First, QE urges the court to “substantially reduce Apple’s and Nokia’s fee requests because
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                                               a full award would be unjust in light of newly revealed evidence that Apple and Nokia” failed to
                                          15
                                               adequately protect their own information. 13 QE refers, of course, to the revelation in February that
                                          16

                                          17   Apple itself mistakenly failed to redact the terms of its license with Nokia from a document filed

                                          18   on the public docket in October. 14 The court has already expressed its view that this disclosure is

                                          19   “not [] relevant to either basis for the court’s January 29, 2014 sanctions order,” so it declines to
                                          20   reduce the fee award on those grounds. 15
                                          21

                                          22
                                               10
                                          23        Id. at 945 n.2 (internal citations and quotations omitted).
                                               11
                                          24        Moreno, 534 F.3d at 1116.
                                               12
                                          25        See Welch, 480 F.3d at 948.
                                               13
                                          26        See Docket No. 3000 at 4.
                                               14
                                          27        See Docket No. 2958-1.
                                               15
                                          28        See Docket No. 3111 at 1.

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                                                     B. Apple And Nokia’s Work Was Neither Unnecessary Nor Unsuccessful
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                                           2              QE next argues that the requested fees should be reduced to reflect Apple and Nokia’s

                                           3   “unnecessary work” and “limited success.” 16 After all, QE points out, the material relied on to seek

                                           4   sanctions was “voluntarily provided or offered in August, requiring no litigation, and Samsung
                                           5
                                               stipulated to remedial measures on August 18.” 17 However, as the court noted in October, the
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                                               proposed remedial measures were “insufficient,” as was Samsung’s progress toward implementing
                                           7
                                               them. 18 The court, not Apple or Nokia, concluded that “letting Samsung and its counsel investigate
                                           8
                                               this situation without any court supervision [was] unlikely to produce satisfactory results,” 19 and on
                                           9

                                          10   that basis, the court ordered the discovery that QE now argues was “not needed.” 20 Apple and
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                                          11   Nokia can hardly be faulted for complying with a court order.
    United States District Court




                                          12              QE further asks the court to reduce the fee award in because “Apple and Nokia did not
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                                               succeed on many claims.” 21 This is simply incorrect. Apple moved for sanctions on the grounds
                                          14
                                               that “Apple confidential licensing information was disclosed to Samsung employees and others in
                                          15
                                               violation of the Protective Order,” indicating “a broad failure to maintain appropriate procedures to
                                          16

                                          17   protect the confidential information produced in this case.” 22 The court’s eventual order noted

                                          18   specifically that Samsung and QE’s “willful failure to institute sufficient safeguards for the

                                          19   information warrants sanctions when considered in light of the vast distribution of confidential
                                          20

                                          21
                                               16
                                          22        Docket No. 3000 at 3.
                                               17
                                          23        Id.
                                               18
                                          24        Docket No. 2483 at 4.
                                               19
                                          25        Id.
                                               20
                                          26        Docket No. 3000 at 3.
                                               21
                                          27        Id. at 4.
                                               22
                                          28        Docket No. 2374-2 at 11.

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                                               information that occurred because such protections were not in place.” 23 Apple further moved for
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                                           2   sanctions based on “Samsung’s failure to take immediate and thorough action following the

                                           3   discovery of those breaches to prevent further mishandling of Apple’s information,” 24 and the court

                                           4   granted sanctions based on “Quinn Emanuel’s failures to follow the procedures set forth in
                                           5
                                               Section 18(a) of the protective order once it learned of the inadvertent disclosures.” 25 Finally,
                                           6
                                               Apple also moved for sanctions because “Samsung executives appear[ed] to have improperly used
                                           7
                                               the Apple confidential licensing information.” 26 Though the court was ultimately “unpersuaded”
                                           8
                                               that Samsung had misused the inadvertently disclosed information, it took the full scope of the
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                                          10   discovery tendered to reach that conclusion. 27 This was not a case where the parties tested a wild
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                                          11   legal theory, or pushed the bounds of a subjective standard in seeking sanctions. Apple and Nokia
    United States District Court




                                          12   had concrete evidence indicating wrongdoing at the time that the motion was brought. Two of
                                          13
                                               their three allegations were eventually confirmed, and though the court rejected the third, it noted
                                          14
                                               that Samsung’s excuses and explanations were “shaky” at best. 28 Apple and Nokia succeeded on
                                          15
                                               most of their claims, and the court declines to reduce its fee award to indicate anything less.
                                          16

                                          17              QE pushes for additional reductions based on Nokia’s inappropriate “scorched earth”

                                          18   litigation strategy and duplicative work, such as sending multiple attorneys to attend depositions

                                          19   and hearings. Just recently, this court declined to hold that, “as a matter of law, it is unreasonably
                                          20   duplicative to have [multiple] attorneys at mediation sessions, depositions, meetings, and trial;
                                          21
                                               often, there are numerous moving pieces at each of these events, such that having [multiple]
                                          22
                                               23
                                          23        Docket No. 2935 at 15.
                                               24
                                          24        Docket No. 2374-2 at 11.
                                               25
                                          25        Docket No. 2935 at 16.
                                               26
                                          26        Docket No. 2374-2 at 12.
                                               27
                                          27        See Docket No. 2935 at 11.
                                               28
                                          28        Id.

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                                               attorneys present is more or less required to follow everything.” 29 It is disinclined to reach a
                                           1

                                           2   contrary conclusion here. Neither can it fault Nokia for zealously pursuing the relief granted by

                                           3   this court. QE’s request to make various reductions on these grounds also is denied.

                                           4            Finally, QE asks the court to strike seven specific sets of costs and fees. 30
                                           5                 1. Expenses for an unfiled motion by Nokia: denied. The bulk of the work was
                                                                eventually used in a different form, and the court does not wish to create an
                                           6                    incentive to file unnecessary motions simply because the drafting process has
                                                                begun.
                                           7
                                                             2. Expenses incurred in depositions of Jeff Rischer, Paul Melin and Eeva Hakoranta:
                                           8                    denied. Failure to discover that Apple/Nokia license terms had been accidentally
                                                                posted on the public docket does not amount to a failure to conduct a “reasonable
                                           9                    investigation” in preparation for the deposition.
                                          10                 3. Business or first class airfare: granted-in-part. While striking those expenses
                                                                entirely would be extreme, it is appropriate to reduce them to approximately the
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                                          11                    cost of a coach class ticket. QE suggests a 70% reduction in all business/first class
    United States District Court




                                                                airfare to make this adjustment, which seems reasonable to the court. Apple shall
                                          12                    recover $3,367.55 of its requested $11,225.15 costs for business and first class
                                                                airfare. Breaking out Nokia’s business class fares is not feasible, as they are
                                          13                    presented as part of a single trip entry for each of three trips, covering airfare,
                                                                lodging, transportation and food, so the discount will be applied to the entire entry;
                                          14                    Nokia shall recover $9,436.80 of its requested $31,456 for trips which included a
                                                                business class airfare.
                                          15
                                                             4. Nokia meals and transportation expenses: denied. Subsistence and transportation
                                          16                    are commonly accepted costs of business travel.
                                          17                 5. RealTime and video service expenses: denied. Again, these are commonly accepted
                                                                costs of conducting discovery.
                                          18
                                                             6. Expenses incurred for the Ken Korea deposition: denied. Having reviewed the Ken
                                          19                    Korea deposition transcript, he was subject to extensive questioning by both Apple
                                                                and Nokia. 31
                                          20
                                                             7. Expenses incurred sending Nokia counsel to Korea: granted. Nokia has presented
                                          21                    insufficient evidence to justify its decision to send counsel to Korea for the
                                                                beginning of the Stroz review despite being told that counsel would not be
                                          22                    permitted within the premises.
                                          23

                                          24

                                          25
                                               29
                                          26        Muan v. Vitug, Case No. 5:13-cv-0331-PSG, Docket No. 73 at 3 (N.D. Cal. June 18, 2014).
                                               30
                                          27        See Docket No. 3000 at 4.
                                               31
                                          28        See Docket No. 2557-10.

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                                                     C. With Limited Exceptions, Apple And Nokia’s Requests Have Been Sufficiently
                                           1            Supported To Sustain The Requested Award
                                           2            In its most persuasive argument, QE argues that the court should reduce the fees and costs
                                           3
                                               requested because the billing records submitted are insufficiently detailed to allow anyone to
                                           4
                                               evaluate their reasonableness. QE argues that Apple and Nokia’s billing records in the present
                                           5
                                               matter reflect the same flaws—generic descriptions and block billing—for which the court
                                           6

                                           7   previously imposed a 20% reduction. The parties in this case are aware that the court takes such

                                           8   allegations seriously and will not reward obtuse billing practices that deprive others of the ability to

                                           9   meaningfully evaluate how the time was spent. 32
                                          10            That said, Apple and Nokia’s billing records are much clearer than those for which the
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                                          11
                                               court previously imposed a 20% penalty. Apple’s previous billing included things like 60.7 hours
    United States District Court




                                          12
                                               spent “drafting and preparing motion to compel,” and 20.8 hours “preparing motion for
                                          13
                                               administrative relief and motion to seal.” 33 This time, in the over four hundred pages of
                                          14

                                          15   correspondence and billing records submitted for review, the court has identified only 19 records

                                          16   that it finds troubling. In each of these entries, partners and senior associates block bill ten or more

                                          17   hours on “drafting,” “preparing” “revising” or paying “attention to” various briefs. 34 These are
                                          18
                                               precisely the type of entries that the court condemned in its prior order and are therefore subject to
                                          19
                                               the same 20% reduction. 35 The relevant entries are provided in the table below in both their
                                          20
                                               original and reduced forms. 36
                                          21

                                          22
                                               32
                                          23     See Apple Inc. v. Samsung Electronics Co., Ltd., Case No. 5:11-cv-1846-LHK (PSG),
                                               2012 WL 5451411, at *5 (N.D. Cal. Nov. 7, 2012).
                                          24   33
                                                    Docket No. 1948-1.
                                          25   34
                                                    See Docket Nos. 2965-20 at 34, 2965-21 at 52-53.
                                          26   35
                                                    See Apple, 2012 WL 5451411, at *8.
                                          27   36
                                                 For the entries listed below, Nokia originally requested $87,082, but shall be awarded
                                          28   $69,667.20. Apple originally requested $20,498.17 but shall be awarded $16,398.54.

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                                                Team Member                                  Task                             Original    Reduced
                                           1
                                                                                                                               Hours       Hours
                                           2   Parker Miller        Draft and revise response to Samsung motions to          10.2         8.2
                                                                    stay and for relief from Apple and Stipulated Order
                                           3   Ed Bonapfel          Edit and revise Brief in Support of Sanctions and        10.2         8.2
                                                                    supporting documents related to same
                                           4   Ryan Koppelman       Attention to access to redacted Samsung filings,         10.3         8.2
                                           5                        deposition scheduling, meet and confer status,
                                                                    proposal for potential sanctions, draft Motion for
                                           6                        Contempt.
                                               Parker Miller        Draft and revise Brief in Support of Sanctions.          10.3         8.2
                                           7   Andy Tuck            Finalize and file sanctions brief.                       10.3         8.2
                                           8   Parker Miller        Draft, revise and file Supplemental filing on Motion     10.6         8.5
                                                                    for sanctions.
                                           9   Alex Wuste           Research and draft filings related to Judge Grewal’s     11.3         9.0
                                                                    October 2
                                          10
                                               Parker Miller        Draft and revise supplemental motion and support         11.7         9.4
For the Northern District of California




                                          11                        ongoing depositions.
                                               Parker Miller        Draft, revise and file Supplemental filing on Motion     11.8         9.4
    United States District Court




                                          12                        for sanctions.
                                               Alex Wuste           Update, cite check, finalize R. Koppelman                12.4         9.9
                                          13
                                                                    declaration and final brief
                                          14   Parker Miller        Draft and revise opposition to Samsung motion for        12.8         10.2
                                                                    privilege
                                          15   Parker Miller        Draft, revise and file Supplemental filing on Motion     12.9         10.3
                                                                    for sanctions.
                                          16   Ryan Koppelman       Attention to supplemental brief                          13           10.4
                                          17   Parker Miller        Draft and Revise response to Samsung Motion for          13.1         10.5
                                                                    Leave
                                          18   Parker Miller        Draft and revise brief; respond to Samsung's letter      13.2         10.6
                                                                    on privilege.
                                          19   Ed Bonapfel          Edit and revise Supplemental Brief and prepare for       14.7         11.8
                                                                    filing.
                                          20
                                               Parker Miller        Draft and revise supplemental brief                      16.8         13.4
                                          21   Andrew Liao          Prepare, file brief and supporting papers regarding      11.4         9.1
                                                                    appropriate sanctions for Samsung’s protective
                                          22                        order
                                               Derek Gosma          Draft materials related to sanctions motion, discuss     12.1         9.7
                                          23
                                                                    same with team, finalize filing
                                          24   Richard O’Neill      Revise sanctions supplemental brief                      15.1         12.0

                                          25          The court notes and appreciates that both Apple and Nokia have applied a series of

                                          26   discounts to their requests already. However, as the court understands it, theses discounts were
                                          27   intended to account for potential over-billing or expenditures that were not, strictly speaking,
                                          28
                                                                                9
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                                               necessary. The “haircut” now applied to the requests submitted addresses the problem of
                                           1

                                           2   insufficient record keeping, not “overbilling” or “unnecessary” time spent.

                                           3                                          IV. CONCLUSION

                                           4          With the limited exceptions described above, the court finds that the remaining costs and
                                           5   fees requested by Apple and Nokia are reasonable and shall be awarded. No later than 30 days
                                           6
                                               from this order, Samsung and QE are to pay Nokia a total of $1,145,027.95 and Apple a total of
                                           7
                                               $893,825.77 in fees and costs.
                                           8
                                               IT IS SO ORDERED.
                                           9

                                          10   Dated: June 20, 2014
For the Northern District of California




                                          11                                                       _________________________________
                                                                                                   PAUL S. GREWAL
    United States District Court




                                          12                                                       United States Magistrate Judge
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